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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 18-20682-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  MATTHIAS KRULL,

        Defendant.
  _______________________________/

                                               ORDER

         THIS CAUSE came before the Court on the Government’s Motion to Seal [ECF No.

  85], filed on August 27, 2020. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED. The documents are

  permitted to be filed under seal and shall remain under seal until August 27, 2021. This Order

  shall not be filed under seal.

         DONE AND ORDERED in Miami, Florida, this 27th day of August, 2020.




                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
